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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 21-2989-MDL-ALTONAGA/Torres


    IN RE:


    JANUARY 2021 SHORT SQUEEZE
    TRADING LITIGATION
    _____________________________________/


    This Document Relates to All Claims Included
    In the Other Broker Tranche


                  DECLARATION OF JACK E. PACE III IN SUPPORT OF
             APEX CLEARING CORPORATION’S RULE 12 MOTION TO DISMISS
                  PLAINTIFFS’ (FOURTH) CLASS ACTION COMPLAINT

           I, Jack E. Pace III, hereby declare as follows:

           1.      I am an attorney duly authorized to practice law in the State of New York and am

    authorized to appear in the above-captioned litigation pursuant to this Court’s Pretrial Order #1

    (ECF No. 46) having filed a Certificate of Understanding on April 12, 2021 (ECF No. 81). I am

    a Partner in the law firm of White & Case LLP, counsel for Defendant Apex Clearing Corporation

    (“Apex”). I submit this Declaration in support of Apex’s Motion to Dismiss Complaint Pursuant

    to Federal Rule of Civil Procedure 12(b)(6). I am familiar with the facts set forth herein based on

    my personal knowledge of the referenced material.

           2.      Attached hereto as Exhibit 1 is a true and correct copy of a letter from Apex

    Clearing Corporation to the New Jersey Office of the Attorney General’s Bureau of Securities,

    dated February 9, 2021, which Plaintiffs quote and rely on at Paragraphs 79–80 of the Plaintiffs

    Chavez and Jang’s Amended Class Action Complaint (ECF No. 483) (“Fourth Complaint”).




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           3.         Attached hereto as Exhibit 2 is a true and correct copy of the standard Customer

    Account Agreement that Apex enters into with the customers of Introducing Brokers who use

    Apex’s clearing services, as detailed at Paragraphs 96–97 of the Fourth Complaint.

           4.         Attached hereto as Exhibit 3 is a true and correct copy of a stock price chart taken

    from Google Finance on August 30, 2021, tracking the stock price of GameStop from February

    15, 2002 to the present.

           5.         Attached hereto as Exhibit 4 is a true and correct copy of a stock price chart taken

    from Google Finance on August 30, 2021, tracking the stock price of AMC from August 30, 2020

    to the present.

           6.         Attached hereto as Exhibit 5 is a true and correct copy of a stock price chart taken

    from Google Finance on August 30, 2021, tracking the stock price of KOSS stock from March 27,

    1986 to the present.

           7.         Attached hereto as Exhibit 6 is a true and correct copy of a letter from Apex

    Clearing Corporation to the New Jersey Office of the Attorney General’s Bureau of Securities,

    dated March 22, 2021, on which Plaintiffs rely at Paragraph 79 of the Fourth Complaint.

           8.         Attached hereto as Exhibit 7 is a true and correct copy of Apex’s Form CRS –

    Customer Relationship Summary, dated April 14, 2021, which was retrieved from the FINRA

    website at the following web address: https://files.brokercheck.finra.org/crs_13071.pdf.

           9.         Attached hereto as Exhibit 8 is a true and correct copy of the an article dated March

    4, 2021, from financialplanning.com describing an interview with Tricia Rothschild, which

    Plaintiffs quote and rely on at Paragraph 87 of the Fourth Complaint. Highlighting has been added

    to indicate the relevant language referred to in the Fourth Complaint.




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           10.    Attached hereto as Exhibit 9 is a true and correct copy of French v. Bache Halsey

    Stuart, Inc., CFTC No. R 76–17, ¶ 20,444 (June 23, 1977).

           11.    Attached hereto as Exhibit 10 is a true and correct copy of a January 28, 2021 email

    chain between Apex employees and Apex customer Tom Harrison of Direct Alpha produced at

    APEX-MDL00002375 through APEX-MDL00002377, which Plaintiffs selectively quote and rely

    on at Paragraph 76 of the Fourth Complaint.

           I hereby declare under penalty of perjury under the laws of the United States of America

    that the foregoing is true and correct and that this declaration was executed in New York, New

    York on June 22, 2022.

                                                                            /s/ Jack E. Pace III
                                                                                Jack E. Pace III




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